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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY,

                 Plaintiff,
v.                                                          Case No.: 1:18-cv-00563-JEB

U.S. DEPARTMENT OF STATE, and
MICHAEL R. POMPEO, Secretary of State,

                 Defendants.


            PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME
            TO RESPOND TO DEFENDANTS’ PARTIAL MOTION TO DISMISS

       Plaintiff Center for Biological Diversity (“Center”) respectfully requests a one-week

extension until October 5, 2018 to respond to Defendants’ partial motion to dismiss. The

reasons for Plaintiff’s request are as follows:

       1.        On April 11, 2018, the Center filed an Amended Complaint adding claims

concerning Defendants’ failure to complete the seventh U.S. Climate Action Report within the

mandatory deadline established by the United Nations Framework Convention on Climate

Change, referred to as the “UNFCCC” (hereafter “Delay Claims”). See Amended Complaint

(Dckt. No. 8).

       2.        On May 4, 2018, the Court granted Defendants’ first motion to extend the

deadline to respond to the Complaint, ECF No. 10, and on June 1, 2018, the Court granted

Defendants’ second extension motion, putting the Center’s Delay Claims on a separate track

from the pending claims under the Freedom of Information Act, 5 U.S.C. 552, as amended.




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       3.      On June 22, 2018, the Court granted Defendants’ third motion to extend the

deadline to respond, ECF No. 17, ¶¶ 2-3, and on August 29, 2018 – more than four months after

the Amended Complaint was filed – Defendants filed a motion to dismiss the Delay Claims.

ECF No. 20. The motion admits that the United States is under a “binding international

obligation” to submit the seventh U.S. Climate Action Report “by January 1, 2018,” id. at 2 and

4, but challenges the Center’s Article III standing and the viability of the Delay Claims. Id.

       4.      On September 5, 2018, the Court granted Plaintiff’s first motion to extend the

deadline to respond to the motion to dismiss. ECF No. 21, ¶6.

       5.      Plaintiff’s lead counsel recently returned from extended leave for her wedding

and honeymoon, and responding to the motion along with other obligations is taking longer than

anticipated. The Center therefore seeks a one-week extension of time to respond to the motion,

until October 5, 2018. The brief extension will not prejudice the parties, and the Center does not

anticipate seeking any further extensions for this motion.

       6.      This is the Center’s second request for an extension of time.

       7.       Plaintiff’s counsel has conferred with Defendants’ counsel, who have represented

that Defendants do not oppose this motion.

       Now therefore, for the foregoing reasons, the Center respectfully requests that the Court

grant this motion for extension, and reset the due date for Plaintiff’s response to Defendants’

motion to dismiss to October 5, 2018.

       A proposed Order is attached.

September 25, 2018                            Respectfully submitted,

                                              /s/ Anchun Jean Su
                                              Anchun Jean Su
                                              (D.C. Bar No. CA285167)
                                              CENTER FOR BIOLOGICAL DIVERSITY


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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY,

              Plaintiff,
v.                                                         Case No.: 1:18-cv-00563-JEB

U.S. DEPARTMENT OF STATE, and
MICHAEL R. POMPEO, Secretary of State,

              Defendants.

                                   [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion for Extension of Time and the entire record

herein, it is hereby ORDERED that Plaintiff’s Motion is GRANTED; and it is

       FURTHER ORDERED that the time for Plaintiff to respond to Defendants’ Partial

Motion to Dismiss is hereby extended up to and including October 5, 2018.

       It is SO ORDERED this __ day of September, 2018.



                                                   _______________________________

                                                   JAMES E. BOASBERG
                                                   UNITED STATES DISTRICT COURT




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